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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

                                           §
LIFENET, INC.,                             §
                                           §
        Plaintiff,                         §
                                           §
v.                                         §    Case No. 6:22-cv-162-JDK
                                           §
UNITED STATES DEPARTMENT OF                §
HEALTH AND HUMAN SERVICES,                 §
et al.,                                    §
                                           §
        Defendants.                        §
                                           §

       ORDER GRANTING IN PART MOTION FOR EXPEDITED BRIEFING

         Before the Court is Plaintiff LifeNet, Inc.’s Opposed Motion for Expedited

 Summary Judgment Briefing. Docket No. 19. Defendants oppose the motion on

 various grounds. Docket No. 23. By default, Federal Rule of Civil Procedure 56(b)

 provides that “a party may file a motion for summary judgment at any time until 30

 days after the close of all discovery.” FED. R. CIV. PRO. 56(b) (emphasis added).

 Having fully considered the motion and the response, the Court is of the opinion that

 the motion should be GRANTED IN PART. The Court therefore ORDERS that

 LifeNet may file its motion for summary judgment at any time following this

 Order. Defendants’ response shall be due two weeks after LifeNet files its motion,

 and a reply and sur-reply (if any) shall be due one week after Defendants’ response

 and one week after LifeNet’s reply, respectively.




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        So ORDERED and SIGNED this 13th day of May, 2022.



                                        ___________________________________
                                        JEREMY D. KERNODLE
                                        UNITED STATES DISTRICT JUDGE




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